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                              EXHIBIT 5
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                                      DECLARATION OF D.M.

  I, D.M., declare and state the following:

      1. I am 20 years old. I currently live in San Antonio, Texas.

     2. I was born in Honduras, and I came to the United States when I was 15. I was taken in

         by immigration authorities when I crossed the border, and then I was in ORR custody for

         about three years .

     3. I arrived at Shenandoah in 2014, around the last week of May. I was at Shi loh Treatment

         Center before that.

     4. At first the people transfe1Ting you don ' t tell you they ' re going to take you to jail - all

         they do is tell you you ' re going to another placement. But then they handcuff you, and

         put a big heavy bag on your right or left leg. Once you have the handcuffs and the big

         bag, you know you're going to jail.

     5. I was told I was sent to Shenandoah because I was too aggressive, supposedly because I

         had had physical issues with staff more than three times in one week. But I never had a

         chance to dispute this, and I was only to ld the reason for the transfer after I arrived there.

     6. When I was at Shenandoah, there was a lock-in (secure) paii and a staff secure part of the

         faci lity. I was in the lock-in pa1i for 8 months, and then I was stepped down to the staff

         secure pai·t for about 3 months.

     7. The rules at Shenandoah were really strict. There was one hour when you had to read a

         book. The guards had to see your eyes moving back and forth on the page, and if they

         didn ' t, they would put you on restriction in your cell.

     8. One day, it was reading time, and there was this kid who was quiet but wasn 't looking at

         his book like he was supposed to. This guard - I forgot his name, but he was a big guy,



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         he used to be an NFL player - he was really strict and he used to be mean to everyone.

        He asked the kid why he wasn't looking at bis book. The kid responded and said he

        wasn ' t causing any trouble or anything. The guard told him to shut up. The kid got up

        and said, 'I'm sorry, sir." And the guard grabbed him by the shirt and pushed him away.

        Then the kid felt disrespected, so he got mad and he punched the guard. In response, the

        guard grabbed the kid and tackled him, and slan1med him to the floor. The guard put bis

        whole weight on top of him. He had his elbow on the kid's chest and had his other arm

        pinning the kid down. He took his time calling a 1033 on his radio (for backup). There

        was a group ofus watching this, and we didn't think it was necessary for the guard to

        treat the situation as he did.

     9. It's easy for the guards to write incident reports - you did this, you did that, you

        disrespected me - but they never hear the kid 's side of the story. My voice was never

        heard. They never came and talked to us about what was going on inside of us. A kid

        starts suffering as soon as Border Patrol gets them. They're all scared of being sent back

        home or being sent to jail.

     10. I didn't feel like I belonged there. I never threatened staff members. I wasn't affiliated

        with a gang in my home country or anywhere else. I was terrified there.

     11. There were both federals (immigrant kids) and local American kids at Shenandoah, and

        there were differences in the way they were treated. The locals were able to have a

        roommate, while federals have to have cells by themselves. The guards would joke with

        the local kids about the federals, telling them that the federals were in their cells alone

        because they raped someone or because they had sexual problems (HIV, stuff like that). I




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        overheard them tallcing like this in the gym, and I understood because I was the only one

        who spoke English. The guards are adults, and they were supposed to be there for us.

     12. The guards at Shenandoah also put down the federals, calling them wetbacks. They used

        that word because they know it' s insulting. Most of the kids don't even understand

        what's being said about them because the staff doesn't speak Spanish.

     13. The guards would also mock us by trying to speak Spanish. They would say "Vamonos!

        Vamanos!" with a smirk on their faces.

     14. Before I came to Shenandoah, I had been diagnosed with post-traumatic stress disorder

        major depressive disorder, and bipolar disorder. I didn't meet with a psychologist until

        about a month and half after I had arrived there. I went in with medication from Shiloh,

        but I didn ' t receive any meds until a month and a half in, when I met with the

        psychologist. What did they do with my meds? What did they think, they I didn't need

        them in secme?

     15. I had a lot of issues there because of my mental disorder. Whenever I was in crisis - if I

        was trying to hurt myself inside my cell, or saying things to someone no one could see -

        they would drag me out of my cell and put me in the restraint chair. All I could see was

        them running for the chair.

     16. Whenever they used to restrain me and put me in the chair, they would handcuff me.

        Strapped me down all the way; from your feet all the way to your chest, you couldn't

        really move. Handcuffs would have been enough. Once you re strapped down, they

        have total control over you.

     17. They also put a bag over your head. It has little holes; you can see through it. But you

        feel uffocated with the bag on.



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      18. When you're in a crisis, the bag is the least helpful thing- it's scary, you know. And

          they don't do it in a nice way. They don't explain what they are doing· they just grab the

          left side of your head and they force it over you. You can't move to resist. The first

          thing that came to my head when they put it on me was, "They are going to suffocate me.

          They are going to kill me."

      19. They had me in that chair for a good hour, but they don't check the time. They don't

          check if blood is flowing through your veins. I feel like they should have to do a 20-

          minute check to make sure it's not too tight, it 's not hurting you, or whatever. There is a

          guard there with you, but they never checked on me.

      20. I saw two other cases, besides me, where kids had to be put in the chair. It was when the

          guards had break up a fight. I never had a fight in that place. I was placed in the chair

          when I was having a mental crisis.

      21. Every time I was in crisis, they put me in the chair. The guards never did anything less

          extreme than that. They would call for help from a psychologist only after I was strapped

          down. They would wait for like 45 minutes or an hour to call though.



          I declare, under penalty of pe1jury, that all the information I have provided here is correct

  and complete to the best of my knowledge, and I am aware of the legal consequences of making

  a fa lse declaration.



  Executed this 2nd day of January, 2018, in San Antonio, Texas



                                                                        D.M.



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